            In re: Timothy D. Eyman, Bankruptcy Case No. 18-14536-MLB




                        EXHIBIT D
                            to Declaration of S. Todd Sipe
                            in Support of State’s Objection
                         to Applications For Attorneys’ Fees




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                                SUPREME COURT
                          OF THE STATE OF WASHINGTON
           TIM EYMAN AND                        No. 100040-5
           TIM EYMAN WATCHDOG
           FOR TAXPAYERS LLC,                   APPELLANT’S MOTION TO
                                                RECUSE COMMISSIONER
                    Appellants,
           v.

           STATE OF WASHINGTON,

                    Respondent.
                         I. IDENTITY OF MOVING PARTY

                    Richard B. Sanders, attorney for Appellant Tim Eyman,

           makes this motion.

                       II. STATEMENT OF RELIEF SOUGHT

                    Recuse the Commissioner of the court from further

           proceedings in this matter. Further, your undersigned requests

           oral hearing and a narrative opinion.

                           III. REFERENCE TO RECORD
                A. Motion for Stay pending Appeal
                B. Respondent State of Washington’s Answer to Motion for
                   Stay pending Appeal
                C. Reply of Appellant Eyman on Motion for Stay Pending
                   Appeal




                                            1
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               D. Ruling Denying Motion for Stay Pending Appeal
                  (9/14/21)
               E. Motion to Modify September 14, 2021 Ruling Denying
                  Stay Pending Appeal
               F. Respondent State of Washington’s Amended Response
                  (11/12/21)
               G. Reply of Appellant Tim Eyman on Motion to Modify
                  September 14, 2021 Ruling Denying Stay Pending Appeal
                  (11/16/21)

                  IV. GROUNDS FOR RELIEF AND ARGUMENT

                    The commissioner’s ruling of September 14, 2021 stated:

                    Mr. Eyman’s fleeting argument for the first time on appeal
                    that he is the equivalent of a charitable organization is not
                    well taken. See RAP 2.5(a)(3) (an appellate court may
                    consider an issue raised for the first time on appeal if it
                    involves a manifest error affecting a constitutional right.)

           Ruling Denying Motion for Stay Pending Appeal p. 5

                    This dismissive “fleeting argument” claim by the

           Commissioner is simply false, either intentionally so or in

           reckless disregard of the truth. In either case he should be recused

           from this proceeding.

                    This is not the responsibility or duty of your undersigned,

           rather the court.1 The Commissioner is authorized by the Court



           1
            Your undersigned has no personal ill will toward the Commissioner; however, does have
           a duty to at least attempt to protect his client’s right to be heard by an impartial judiciary.
           Unfortunately, grounds for recusal may often only be documented after the fact.


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           to perform judicial functions and therefore is subject to the CJC.

           See CJC Application IA Parties to a proceeding are entitled to an

           impartial jurist, i.e. not only one with the absence of bias or

           prejudice for or against particular parties or classes of parties, but

           one who maintains an open mind. See CJC Terminology A

           judge has a duty of self-disqualification in any proceeding in

           which his impartiality might reasonably be questioned. CJC

           2.11A This Court has a supervisory duty toward the

           Commissioner to ensure he acts with fidelity and diligence

           consistent with his obligations under the CJC.            CJC 2.12

           Moreover the Court has a responsibility to inform the appropriate

           authority when it has knowledge another judge, or lawyer, may

           have violated the CJC or RPC. CJC 2.15

                    Justice Whitener’s excellent CLE presentation of

           November 19th on ethics and civility emphasized the lawyer’s

           duty to act with honesty and civility and his responsibility to

           bring such problems to the attention of the relevant tribunal for

           appropriate action. Your undersigned heeds this timely advise.




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                    In point of fact the charitable claim which the Attorney

           General misrepresented had not been brought to the attention of

           the trial court, and the Commissioner who ratified and repeated

           this misrepresentation, was fully briefed to the trial court in

           Appellant’s Motion for Reconsideration.           Notwithstanding,

           Attorney General Robert Ferguson misrepresented this fact to

           this Court in his August 23, 2021 Answer to Motion for Stay p.

           16 broadly claiming it was not raised to the trial court. To this

           Appellant replied on August 30th p.6, n.4 the matter was not only

           raised but fully briefed in his trial court Motion for

           Reconsideration, and actually attached the relevant pleading to

           the original Motion for Stay as Exhibit C, p. 6-10. Thus the

           Commissioner was on notice the Attorney General had lied and

           was presented the record to prove it.

                    But the Commissioner ratified and published the lie as a

           ruling of the court.       In so doing he either intentionally

           misrepresented the record or, charitably, accepted the Attorney

           General’s lie without verifying the record even though it was

           specifically brought to his attention. This sort of dishonesty or



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           bias cannot be ignored by Mr. Eyman’s representative because

           dishonesty (by the AG and perhaps the commissioner) strikes at

           the foundation of what should be a fair proceeding before

           impartial jurists. This is intolerable and requires action by the

           court to ensure Mr. Eyman’s rights are not compromised by

           dishonesty of the adverse party or bias of the decision maker.

                    But there is more. Appellant’s Motion to Modify the

           Commissioner’s Ruling not only specifically called out the

           aforementioned misrepresentation of the record but cited

           multiple precedents that issues raised in motions for

           reconsideration are preserved for appeal (although neither the

           Attorney General nor the Commissioner claimed otherwise.) See

           Motion to Modify September 14, 2021 Ruling Denying Stay p.

           18 n.17.

                    However, in response to Appellant’s Motion to Modify,

           Attorney General Robert Ferguson doubled down on his

           dishonesty by again stating “Eyman did not raise the issue

           below.” P. 28 Eyman’s Reply of November 16, 2021 once again




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           addressed the issue p. 5-7. And once again attached his Motion

           for Reconsideration to the trial court to prove the point.

                    It may be true that most members of the judiciary do not

           share Mr. Eyman’s creed when it comes to limited government

           and taxation. However, the judicial canons as well as the

           Washington Law Against Discrimination2 render this factor as

           irrelevant as race or sexual orientation. CJC 2.2 Mr. Eyman is

           not to be disadvantaged in this Court, or any court, because he

           believes in limited government and reasonable taxation.

                    So why emphasize this point?                      Because this whole

           proceeding is carried on as a personal vendetta against Mr.

           Eyman and his family by his political enemy, Robert Ferguson.

           This Court will be asked to review multiple instances of the

           Attorney General’s dishonesty before the trial court and on

           appeal, as well as the trial court’s acquiesce and affirmation of

           this as well. Every judicial figure having anything to do with this



           2
             RCW 49.60.030(1) established the right to be free from discrimination based on “creed.”
           This term is repeated in .010 (purpose) whereas .020 requires the chapter be “construed
           liberally for the accomplishment of the purposes thereof.” By dictionary definition
           “creed” is broadly construed as “any system of belief or opinion.” The Random House
           Dictionary of the English Language, College Ed. 314


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           case must give Mr. Eyman the full measure of justice he deserves

           without reluctance or favor.         This may mean the Attorney

           General’s misconduct will be laid open to public knowledge, as

           well as the conduct of certain judicial figures. That General

           Ferguson is the most powerful lawyer in this State and a powerful

           political figure should be no disincentive to protect the rights of

           political dissident Eyman when they conflict with General

           Ferguson. If a member of the judiciary feels he or she cannot

           fulfill that role, the honorable and required course is recusal.

                    To properly appreciate why honesty and courage is

           necessary in the proceeding, in particular, the context must be

           understood. This unprecedented action was launched against

           Mr. Eyman to destroy a political enemy. How else does one

           explain the constant barrage of press releases from the Attorney

           General disparaging his opponent?         Did any justice of this

           honorable court before joining the judiciary employee a press

           agent to disparage opposition litigants? Are judges immune from

           the Attorney General’s false disparagement of Mr. Eyman in the




                                            7
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           media? This is a question which cannot to be ignored by your

           undersigned.

                    Even the Findings of the trial court (drafted by the

           Attorney General) were entered without notice contrary to CR

           52(c), edited for a press release, and then published as a fund-

           raising letter for a future unspecified campaign of the Attorney

           General. See Motion for Reconsideration to trial court p. 1-6 and

           see Fundraising Findings, attached. Compare, Criminal Justice

           Standards for Prosecution Function, Fourth ed. (2017): Standard

           3-1.6 Improper Bias Prohibited (personal considerations not be

           considered); Standard 3-1.7 Conflicts of Interest (not allow

           interests in personal advancement or aggrandizement to affect

           judgment); Standard 3-1.10 Relationship with the Media (not

           allow judgment to be influenced by potential media contacts or

           attention); Standard 3-4.4 (prosecutor should not consider

           partisan or other improper political personal considerations)

                    As detailed in the Motion for Reconsideration to the trial

           court, Mr. Ferguson suborned a false declaration from employee

           Tony Perkins to claim the State was “irreparably prejudiced”



                                             8
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            because Mr. Eyman was withholding information about his

            donors when, in fact, the State had the cancelled checks from

            every donor detailing the name, date, amount, address, phone

            number, etc. See Motion for Reconsideration to the trial court p.

            3-6 Moreover Mr. Eyman supplied the State with a full release

            of all information from his bank accounts in the context of the

            same motion which the State used a few days later to subpoena

            even more current records—all without notice to your

            undersigned, Mr. Eyman’s attorney of record. Compare CR

            45(b) Then the Attorney General threatened private small donors

            who intervened to protect their First Amendment rights with

            hundreds of thousands of dollars in attorney fees if they did not

            withdraw—which, frightened—they did.

                    Thus Mr. Eyman was denied a fair trial on the merits and

            suffocated with millions in fines upon the blatant and intentional

            misrepresentation that he withheld donor information. If the

            court agrees there was dishonesty, justice for Mr. Eyman must

            be served even if individual justices and other court personnel do




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            not share his creed and would prefer to shield General Ferguson

            from the just consequences of his actions.

                    Even the scope of the injunctive relief sought and obtained

            by the Attorney General is unprecedented, designed to knock out

            a political adversary. No other person is so burdened by this

            discriminatory treatment. Such a remedy is not supported by the

            FCPA and is contrary to the Act. As detailed herein, the claim

            of the State and the Commissioner that Mr. Eyman did not raise

            the First Amendment charity claim below is blatantly false. The

            Commissioner must be recused from hearing further matters in

            this proceeding.

                    I certify that this Motion contains 1,651 words, in

            compliance with RAP 18.17(b).

            Respectfully submitted this 10th day of December 2021.

                                       GOODSTEIN LAW GROUP PLLC

                                       By: s/Richard B. Sanders
                                       Richard B. Sanders, WSBA # 2813
                                       Carolyn A. Lake, WSBA # 13980
                                       Counsel for Appellants
                                       ROIL LAW FIRM, PLLC
                                       By: s/Seth S. Goodstein
                                       Seth S. Goodstein, WSBA #45091
                                       Counsel for Appellants

                                             10
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                            CERTIFICATE OF SERVICE
                   The undersigned certifies under the penalty of perjury
            under the laws of the State of Washington that I am now and at
            all times herein mentioned a resident of the State of Washington,
            over the age of eighteen years, not a party to or interested in the
            above-entitled action, and competent to be a witness herein.
                   On the date given below, I caused to be served the
            foregoing document on the following persons and in the manner
            listed below:
               S. Todd Sipe                         U.S. First Class Mail
               Paul M Crisalli                      Via Legal Messenger
               Eric Newman                          Overnight Courier
               Attorney General of Washington           Electronically via
               PO Box 40100                        email
               Olympia, WA 98501-0111
               Email: Todd.Sipe@atg.wa.gov
                      paul.crisalli@atg.wa.gov
                      eric.newman@atg.wa.gov
              Jessica Madeley, Paralegal
              Email: Jessica.Madeley@atg.wa.gov
              Jessica Buswell, Legal Assistant
              Email: Jessica.Buswell@atg.wa.gov
              Electronic Mailing Inbox
              Email: ComCEC@atg.wa.gov
              Mark Lamb                                U.S. First Class Mail
              The North Creek Law Firm                 Via Legal Messenger
              12900 NE 180th Street, Ste. 235          Overnight Courier
              Bothell, WA 98011                            Electronically via
              Email: mark@northcreeklaw.com           email
              Joel B. Ard                              U.S. First Class Mail
              Ard Law Group PLLC                       Via Legal Messenger
              PO Box 11633                             Overnight Courier
              Bainbridge Island, WA 98110                  Electronically via
              Email: joel@ard.law                     email

                   I declare under penalty of perjury under the laws of the
            State of Washington that the foregoing is true and correct.

            Dated this 10th day of December 2021 at Tacoma, Washington.
                                    s/Deena Pinckney
                                    Deena Pinckney



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 1   Hearing Date: Friday, May 14, 2021
     Hearing Time: 9:00 a.m.
 2   Judge: Hon. Dixon

 3

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                                SUPERIOR COURT OF THE STATE OF WASHINGTON
 7                                  IN AND FOR THE COUNTY OF THURSTON

 8                                                                 Case No. 17-2-01546-34
      STATE OF WASHINGTON,
 9                                                             FUNDRAISING FINDINGS
                         Plaintiff,
10
               v.
11
      TIM EYMAN et al.,
12
                         Defendants.
13

14             The attached fundraising appeal from Attorney General Robert Ferguson demonstrates the

15    purpose of this Court's disputed and objectionable Findings: to demean Mr. Eyman from behind the

16    screen of judicial immunity and raise money for candidate Ferguson. The claim that hundreds of

17    thousands of dollars in "campaign" contributions went to Mr. Eyman personally is false, and

18    intentionally so. These funds were donated to Mr. Eyman to pay his personal expenses and were

19    used exactly for that. What campaign? These "Findings" are Ferguson fundraiser sound bites and if

20    the Court didn't realize their purpose before, it certainly knows it now. The motion to reconsider

21    should be granted and these illegitimate findings vacated as required by CR 52.

22             Respectfully submitted this 6th day of May, 2021.
23                                                     GOODSTEIN LAW GROUP PLLC
24
                                                       By:s/Richard B. Sanders
25                                                     Richard B. Sanders, WSBA #2813

       FUNDRAISING FINDINGS-1                                                               GOODSTEIN
                                                                                            LAW GROUP PLLC
       210506.Eyman Fundraising Finding                                                     501 South G Street
                                                                                            Tacoma, WA 98405
                                                                                            Fax: (253) 779-4411
     Case 18-14536-MLB                Doc 444-5   Filed 03/16/22     Ent. 03/16/22 14:46:05       Pg. 13 of 20
                                                                                            Tel: (253) 779-4000
                                                     Seth S. Goodstein, WSBA # 45091
 1                                                   Carolyn A. Lake, WSBA #13980
                                                     Attorneys for Defendants Tim Eyman and Tim Eyman,
 2                                                   Watchdog for Taxpayers, LLC

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      FUNDRAISING FINDINGS-2                                                         GOODSTEIN
                                                                                     LAW GROUP PLLC
      210506.Eyman Fundraising Finding                                               501 South G Street
                                                                                     Tacoma, WA 98405
                                                                                     Fax: (253) 779-4411
     Case 18-14536-MLB              Doc 444-5   Filed 03/16/22   Ent. 03/16/22 14:46:05    Pg. 14 of 20
                                                                                     Tel: (253) 779-4000
                                           DECLARATION OF SERVICE
 1
               The undersigned certifies under the penalty of perjury under the laws of the State of
 2
      Washington that I am now and at all times herein mentioned a resident of the State of Washington,
 3
      over the age of eighteen years, not a party to or interested in the above-entitled action, and
 4
      competent to be a witness herein.
 5

 6             On the date given below, I caused to be served the foregoing document on the following

 7    persons and in the manner listed below:

 8                  S. Todd Sipe                                     U.S. First Class Mail
                    Paul M Crisalli                                  Via Legal Messenger
 9                  Eric Newman                                      Overnight Courier
                    Attorney General of Washington                   Electronically via email
10                  PO Box 40100
                    Olympia, WA 98501-0111
11
                    Email: Todd.Sipe@atg.wa.gov
12                         paul.crisalli@atg.wa.gov
                           eric.newman@atg.wa.gov
13
                    Jennifer Singleton, Paralegal
14                  Email: Jennifer.Singleton@atg.wa.gov

15                  Jessica Madeley, Paralegal
                    Email: Jessica.Madeley@atg.wa.gov
16
                    Jessica Buswell, Legal Assistant
17
                    Email: Jessica.Buswell@atg.wa.gov
18
                    Electronic Mailing Inbox
19                  Email: ComCEC@atg.wa.gov

20                  Mark Lamb                                        U.S. First Class Mail
                    The North Creek Law Firm                         Via Legal Messenger
21                  12900 NE 180th Street, Ste. 235                  Overnight Courier
                    Bothell, WA 98011                                Electronically via email
22                  Email: mark@northcreeklaw.com
23

24

25

       FUNDRAISING FINDINGS-3                                                              GOODSTEIN
                                                                                           LAW GROUP PLLC
       210506.Eyman Fundraising Finding                                                    501 South G Street
                                                                                           Tacoma, WA 98405
                                                                                           Fax: (253) 779-4411
     Case 18-14536-MLB               Doc 444-5   Filed 03/16/22   Ent. 03/16/22 14:46:05         Pg. 15 of 20
                                                                                           Tel: (253) 779-4000
                    Joel B. Ard                                      U.S. First Class Mail
 1                  Ard Law Group PLLC                               Via Legal Messenger
                    PO Box 11633                                     Overnight Courier
 2                  Bainbridge Island, WA 98110                      Electronically via email
                    Email: joel@ard.law
 3

 4
               I certify under penalty of perjury under the laws of the State of Washington that the
 5
      foregoing is true and correct.
 6
               DATED this 6th day of May 2021 at Tacoma, WA.
 7
                                                             s/Deena Pinckney
 8                                                           Deena Pinckney, Legal Assistant
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       FUNDRAISING FINDINGS-4                                                              GOODSTEIN
                                                                                           LAW GROUP PLLC
       210506.Eyman Fundraising Finding                                                    501 South G Street
                                                                                           Tacoma, WA 98405
                                                                                           Fax: (253) 779-4411
     Case 18-14536-MLB               Doc 444-5   Filed 03/16/22   Ent. 03/16/22 14:46:05         Pg. 16 of 20
                                                                                           Tel: (253) 779-4000
       Deena Pinckney

       Subject:                                  FW: Bob won’t be intimidated




       From: Katherine @ Team Ferguson <info@electbobferguson.com>
       Sent: Thursday, April 29, 2021 2:31 PM
       To:
       Subject: Bob won’t be intimidated


Thanks for your interest in Attorney General Bob Ferguson’s work holding powerful special interests accountable to the rule of law. If you want to receive only our
                                        most important emails, click here, or to unsubscribe from all messages click here.




                                Bob just came out of a fundraising freeze and he needs your grassroots support
                                                   to show the strength of our movement.

                                           Click here to give $20 or more before tomorrow’s deadline!


                                                                      CONTRIBUTE




Have you heard the phrase ‘no good deed goes unpunished’?

Bob and his legal team recently delivered Tim Eyman his day of reckoning. The state
caught Eyman concealing hundreds of thousands of dollars in campaign contributions
that ended up in his personal bank account — again.

A respected Thurston County Superior Court judge had the following to say:

       Eyman’s illegal conduct was “part of a pattern of violations, which resulted from a
        knowing and intentional effort to conceal, deceive, mislead and engage in
        collusive behavior.”



       “In the history of the Fair Campaign Practices Act enforcement, it would be
        difficult for the court to conceive of a case with misconduct that is more egregious


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       or more extensive than the misconduct committed by defendant Eyman in this
       matter.”

Pretty appalling, right? Well, Bob and his legal team scored a major victory for justice
and transparency. The court ordered Eyman to pay $5.5 million that he cannot
discharge in bankruptcy. He’ll be paying for decades to reimburse taxpayers.
Additionally, the court issued an injunction that blocks Eyman from directing the
finances of any initiative campaign.

Eyman’s supporters responded by attacking Bob personally.

Conservative talk radio host Dori Monson, recently suspended by KIRO for his bigoted
commentary, brought Tim Eyman on his show within minutes of Bob’s sweeping court
victory. Monson screamed into the microphone that Bob was “the most dangerous
politician he’s ever covered” for taking on Eyman. Monson puts conservative interests
above the rule of law — and doesn’t seem to care about the potential implications of his
vitriolic rhetoric.

Bob needs to know we have his back. Can we count on you to give $20 today?

If you've saved your payment information with ActBlue Express, your donation will process immediately by clicking a button below.
                                      Otherwise, you will be redirected to a donation page.


                                                Give $20 immediately »
                                                Give $50 immediately »
                                               Give $100 immediately »
                                                Give another amount »


Bob doesn’t accept contributions from large corporations — instead, he relies on
grassroots supporters like you to keep him fighting for Washingtonians. He’s the
People’s Attorney. He can’t be intimidated by ranting conservative talk radio hosts. But
we need to have his back.

Bob just came out of a fundraising freeze, and he has a lot of ground to make up. We
need your help to show the strength of our movement:
https://go.bobferguson.com/a/april-2021


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Thank you,
Katherine




                                                                              CONTRIBUTE

                                                                   Paid For By Friends of Bob Ferguson (D)
                                                                       Re-election to Attorney General
                                                                                PO Box 22169
                                                                             Seattle, WA 98122
                                                                                United States

    Email is an important way for Bob Ferguson to keep supporters like you informed about critical issues and to build a winning grassroots campaign. If you no longer want to hear
                                        from Bob Ferguson click here to get off all our lists instantly. Questions or concerns? Contact us here.

    The campaign to re-elect Bob Ferguson does not accept corporate contributions or contributions from entities or individuals under investigation by
        the office of the Attorney General of Washington. The Bob Ferguson re-election campaign will accept contributions from individuals, small
                                                              businesses, and associations.
                                                              Copyright Friends of Bob Ferguson (D), All rights reserved.




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                                     GOODSTEIN LAW GROUP PLLC

                                         December 10, 2021 - 4:43 PM

                                            Transmittal Information

Filed with Court:                  Supreme Court
Appellate Court Case Number:       100,040-5
Appellate Court Case Title:        State of Washington v. Tim Eyman et al.
Superior Court Case Number:        17-2-01546-3

The following documents have been uploaded:

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      grace.summers@atg.wa.gov
      info@roilawfirm.com
      paul.crisalli@atg.wa.gov

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  Filing on Behalf of: Richard B Sanders - Email: rsanders@goodsteinlaw.com (Alternate Email:
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Tacoma, WA, 98405
Phone: (253) 779-4000

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